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                  EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    ART AKIANE LLC,

           Plaintiff,

    v.                                               Case No. 19-cv-02952

    ART & SOULWORKS LLC,                             Judge Edmond E. Chang
    CAROL CORNELIUSON,
    CARPENTREE, LLC, and VIRGINIA                    Mag. Judge Jeffrey Cole
    HOBSON,

           Defendants.

    ART & SOULWORKS LLC, and
    CAROLYNE CORNELIUSON,

           Defendants-Counter-Plaintiffs,

    v.

    ART AKIANE LLC,

           Plaintiff – Counter-Defendant,

    and

    AKIANE ART GALLERY, LLC, and
    AKIANE KRAMARIK,

           Counter-Defendants.

      AKIANE ART GALLERY, LLC’S FIRST SUPPLEMENTAL OBJECTIONS AND
    RESPONSES TO ART & SOULWORKS LLC’S FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Counterclaim-

Defendant Akiane Art Gallery, LLC (“Akiane Art Gallery”1) hereby provides the following


1
 Akiane Art Gallery’s initial responses used the defined term “Akiane Gallery” when referring to
Akiane Art Gallery, LLC. For purposes of clarity, the preferred term for this entity is Akiane Art
Gallery.


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responses and objections to Defendant Art & SoulWorks LLC’s (“ASW”) First Set of

Interrogatories. Pursuant to Federal Rule of Civil Procedure 26(e), Akiane Art Gallery reserves the

right to modify or supplement its responses to these Interrogatories as this matter continues.

                                     GENERAL OBJECTIONS2

          Akiane Art Gallery objects to the Interrogatories to the extent they seek information or

documents that are protected by the attorney-client privilege, the work product doctrine, the

common interest privilege or any other applicable doctrine or privilege. Inadvertent disclosure of

any such information or documents shall not be deemed a waiver of any privilege or immunity.

          Akiane Art Gallery objects to the Interrogatories as overly broad and unduly burdensome

to the extent the Interrogatories: (a) seek information or documents that do not exist; (b) seek

information or documents that are not in Akiane Art Gallery’s possession, custody or control; (c)

seek information or documents that are equally or more available to ASW; and/or (d) are not

limited to a relevant time period.

          Akiane Art Gallery objects to the Interrogatories to the extent they (or any word or term

used therein) are vague, ambiguous or subject to different interpretations or require subjective

knowledge by any party other than Akiane Art Gallery. Akiane Art Gallery will answer or produce

documents to the extent possible based on the most objectively reasonable interpretation of the

Interrogatory.

          Akiane Art Gallery objects to the Interrogatories to the extent that they seek information

or documents from an overly broad time period; seek information or documents not within the

applicable scope of this case; seek information or documents not relevant to, nor reasonably

calculated to, lead to the discovery of admissible evidence relevant to the claims or defenses in



2
    The above general objections are incorporated into each of the specific objections below.


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this matter; or to require identification of information that would subject Akiane Art Gallery to

annoyance, embarrassment or oppression.

       Akiane Art Gallery objects to the Interrogatories as they are premature because Akiane Art

Gallery has not yet completed discovery and is still processing and reviewing documents.

Accordingly, Akiane Art Gallery reserves the right to supplement its responses to these

Interrogatories, including by producing business records under Fed. R. Civ. P. 33(d).

       These answers shall not constitute an admission by Akiane Art Gallery that the

Interrogatories, any of the answers, or any information or documents produced in connection

therewith, are admissible as evidence in any evidentiary hearing or other proceeding. Akiane Art

Gallery specifically reserves the right to object on any grounds, at any time, to the admission or

use of any Interrogatory or any answers or any information or document produced in connection

therewith in any such evidentiary hearing or other proceeding.

       Any statement made herein is not, and shall not be deemed, an admission of any factual or

legal contention contained in the Interrogatory. Akiane Art Gallery objects to the Interrogatories

to the extent that it contains any factual or legal misrepresentations. Akiane Art Gallery’s response

that it will produce documents in response to the Interrogatories does not necessarily mean that

responsive documents or things exist, but instead that Akiane Art Gallery will produce documents

or things if such documents or things are located after a reasonable and diligent search.

       Akiane Art Gallery objects to the Definitions contained in the Interrogatories for the

following reasons:

       1.      Akiane Art Gallery objects to the Interrogatories to the extent that ASW’s

“Definitions” and “Instructions” purport to impose upon Akiane Art Gallery duties or

responsibilities greater than or different from those imposed by the Federal Rules of Civil




                                                 3
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Procedure, the Local Rules of the United States District Court for the Northern District of Illinois,

and the orders of this Court.

       2.      Akiane Art Gallery objects to ASW’s definition of “Document” because Fed. R.

Civ. P. 34 already defines that term. Akiane Art Gallery will respond to this Interrogatory in light

of the definition of document provided in Rule 34.

       3.      Akiane Art Gallery objects to ASW’s definitions of “Akiane Gallery”, “You”, and

“Your”, as they purport to include all agents, employees, representatives, attorneys, and “all other

persons acting or purporting to act on behalf of or who are subject to the direction or control or

have a financial interest in” Akiane Art Gallery, among others. These definitions are overly broad,

burdensome, and impracticable.

       4.      Akiane Art Gallery objects to ASW’s definitions of “AA” as it purports to include

all agents, employees, representatives, attorneys, and “all other persons acting or purporting to act

on behalf of or who are subject to the direction or control or have a financial interest in Art Akiane

LLC and any related alias(es) of same,” among others. These definitions are overly broad,

burdensome, and impracticable.

       5.      Akiane Art Gallery objects to ASW’s definitions of “Identify,” “Describe,”

“Describe in Detail,” “State,” and “State in Detail” because they purport to impose upon Akiane

Art Gallery duties or responsibilities greater than those imposed by the Federal Rules of Civil

Procedure.

                           RESPONSES TO INTERROGATORIES

       3.      Identify and describe all instances since January 6, 2008 in which You licensed any

of Akiane’s Works or the likeness of Akiane Kramarik, including identifying the person or entity,

what work was licensed, and the amount of royalties received to date.




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       RESPONSE: Akiane Gallery objects to Interrogatory No. 3 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s licensing activities, if any, are not at issue in this action and, therefore, discovery into

this matter is not relevant nor reasonably calculated to lead to admissible evidence. Akiane Gallery

further objects to the Interrogatory because the time limitation imposed by the Interrogatory (i.e.,

January 6, 2008 to the present) is overly broad such that it seeks irrelevant information and

compliance with the Interrogatory as written would subject Akiane Gallery to undue burden and

expense.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery states that it

entered into the following contracts and agreements:

       •   License Agreement for Artwork with Art Akiane dated October 22, 2007.

       •   A Licensing Dissolvement Agreement dated January 10, 2019 with Art Akiane and

           filed at Dkt. 27-6.

       •   A Business Separate Agreement with Art Akiane LLC and Spirit at Works dated

           October 27, 2007.




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       Akiane Art Gallery is still processing and reviewing documents, and discovery is still

undergoing, and it reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



       4.      Identify and describe all instances since January 6, 2008 in which You gave

permission to any person or entity to produce, reproduce, duplicate, copy, modify, or print

Akiane’s Works.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 4 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s alleged giving of permission to produce Akiane’s works, which is not at issue in this

action, and, therefore, discovery into this matter is not relevant nor reasonably calculated to lead

to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, give any third party permission to produce,

reproduce, duplicate, copy, modify, or print Akiane’s Works.




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       5.      Identify and describe all instances since January 1, 2015 in which You printed or

directed another person or entity to print Akiane’s Works, including identifying the person/entity,

what works and sizes they printed, the dates of printing and the amount they printed.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 5 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s printing or non-printing of Akiane’s works is not at issue in this action, and, therefore,

discovery into this matter is not relevant nor reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, print or direct a third party to print Akiane’s works.



       6.      Identify and describe all instances since January 1, 2015 in which You sent, shared,

distributed, or permitted other persons to directly download images relating to Akiane’s Works

through the Internet.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 6 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant




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information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s asserted sharing or distribution of images through the Internet is not at issue in this

action, and, therefore, discovery into this matter is not relevant nor reasonably calculated to lead

to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, send, share, or distribute images of Akiane’s works

through the internet. Further answering, Akiane Art Gallery does not permit the downloading of

images relating to Akiane’s works through the Internet.



       7.      Identify and describe all instances since January 1, 2015 in which You posted or

shared an image of or relating to Akiane’s Works on or through the Internet, including but not

limited to posting to or sharing through social media.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 7 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane




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Gallery’s posting of images relating to Akiane’s works is not at issue in this action, and, therefore,

discovery into this matter is not relevant nor reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, post or share images of Akiane’s works through the

internet during the identified timeframe. Further answering, Akiane Art Gallery states that it does

not have any social media accounts.



       8.      Identify all persons, including any third-party companies, You engaged, retained,

employed, or otherwise worked with to print Akiane’s Works since January 1, 2015.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 8 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s asserted printing is not at issue in this action, and, therefore, discovery into this matter

is not relevant nor reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, engage, retain, employ, or work with a third party

to print Akiane’s works.




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       9.      Identify all third party e-commerce entities You have used to sell Akiane’s Works

since January 1, 2015.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 9 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties 'relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because it requests

Akiane Gallery identify “all third party e-commerce entities” it “used” to sell Akiane’s works.

Akiane Gallery’s selling or failure to sell Akiane’s works is not at issue in this action, and,

therefore, discovery into this matter is not relevant nor reasonably calculated to lead to admissible

evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery did not, to the

best of its knowledge, information, and belief, use any e-commerce platforms to sell Akiane’s

works during the identified timeframe.



       11.     Identify every social media channel You have used to market and advertise

Akiane’s Works since January 6, 2008.

       RESPONSE: Akiane Gallery objects to Interrogatory No. 11 because it is overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the




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parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane

Gallery’s social media channels are not at issue in this action, and, therefore, discovery into this

matter is not relevant nor reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Akiane Art Gallery does not have

any social media accounts.




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Dated: April 14, 2020
                                        Respectfully submitted,


                                        By: /s/ Adam Wolek
                                            Adam Wolek
                                            Marcus Harris
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            111 E. Wacker Drive, Suite 2800
                                            Chicago, Illinois 60601
                                            Phone: (312) 836-4063
                                            Fax: (312) 966-8598
                                            awolek@taftlaw.com
                                            mharris@taftlaw.com

                                            Matthew B. Barbara (pro hac vice)
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            200 Public Square, Suite 3500
                                            Cleveland, Ohio 44114
                                            Phone: (216) 241-2838
                                            Fax: (216) 241-3707
                                            mbarbara@taftlaw.com

                                            Counsel for Counter-Defendant Akiane Art
                                            Gallery, LLC




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                                   CERTIFICATE OF SERVICE

           I hereby certify on that on April 14, 2020, a true and correct copy of the foregoing was

served via electronic mail upon the following:

 Nicole N. Auerbach
 Patrick J. Lamb
 Salvador Carranza
 ELEVATENEXT LAW
 218 N. Jefferson Street, Suite 300
 Chicago, IL 60661
 nicole.auerbach@elevatenextlaw.com
 patrick.lamb@elevatenextlaw.com
 salvador.carranza@elevatenextlaw.com

 Counsel for Defendants-Counter-Plaintiffs
 Art & SoulWorks LLC and Carolyne
 Corneliuson

 Michael L. Hahn
 Michael P. Baniak
 LITCHFIELD CAVO LLP
 303 W. Madison Street, Suite 300
 Chicago, IL 60606
 Hahn@LitchfieldCavo.com
 Baniak@LitchfieldCavo.com

 Counsel for Defendant/Cross-Claimant
 Carpentree LLC



                                                       /s/ Adam Wolek
                                                       Adam Wolek



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                   CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
             Art Akiane LLC v. Art & SoulWorks LLC, et al., Case No. 19-cv-02952

                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ART AKIANE LLC,

        Plaintiff,

 v.                                               Case No. 19-cv-02952

 ART & SOULWORKS LLC,                             Judge Edmond E. Chang
 CAROL CORNELIUSON,
 CARPENTREE, LLC, and VIRGINIA                    Mag. Judge Jeffrey Cole
 HOBSON,

        Defendants.

 ART & SOULWORKS LLC, and
 CAROLYNE CORNELIUSON,

        Defendants-Counter-Plaintiffs,

 v.

 ART AKIANE LLC,

        Plaintiff – Counter-Defendant,

 and

 AKIANE ART GALLERY, LLC, and
 AKIANE KRAMARIK,

        Counter-Defendants.


 AKIANE KRAMARIK’S FIRST SUPPLEMENTAL OBJECTIONS AND RESPONSES
     TO ART & SOULWORKS LLC’S FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Counterclaim-

Defendant Akiane Kramarik (“Akiane”) hereby provides the following responses and objections

to Defendant Art & SoulWorks LLC’s (“ASW”) First Set of Interrogatories. Pursuant to Federal


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                     CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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               Art Akiane LLC v. Art & SoulWorks LLC, et al., Case No. 19-cv-02952

Rule of Civil Procedure 26(e), Akiane reserves the right to modify or supplement her responses to

these Interrogatories as this matter continues.

                                    GENERAL OBJECTIONS1

          Akiane objects to the Interrogatories to the extent they seek information or documents that

are protected by the attorney-client privilege, the work product doctrine, the common interest

privilege or any other applicable doctrine or privilege. Inadvertent disclosure of any such

information or documents shall not be deemed a waiver of any privilege or immunity.

          Akiane objects to the Interrogatories as overly broad and unduly burdensome to the extent

the Interrogatories: (a) seek information or documents that do not exist; (b) seek information or

documents that are not in Akiane’s possession, custody or control; (c) seek information or

documents that are equally or more available to ASW; and/or (d) are not limited to a relevant time

period.

          Akiane objects to the Interrogatories to the extent they (or any word or term used therein)

are vague, ambiguous or subject to different interpretations or require subjective knowledge by

any party other than Akiane. Akiane will answer or produce documents to the extent possible based

on the most objectively reasonable interpretation of the Interrogatory.

          Akiane objects to the Interrogatories to the extent that they seek information or documents

from an overly broad time period; seek information or documents not within the applicable scope

of this case; seek information or documents not relevant to, nor reasonably calculated to, lead to

the discovery of admissible evidence relevant to the claims or defenses in this matter; or to require

identification of information that would subject Akiane to annoyance, embarrassment or

oppression.


1
    The above general objections are incorporated into each of the specific objections below.
                                                  2

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       Akiane objects to the Interrogatories as they are premature because Akiane has not yet

completed discovery and is still processing and reviewing documents. Accordingly, Akiane

reserves the right to supplement her responses to these Interrogatories, including by producing

business records under Fed. R. Civ. P. 33(d).

       These answers shall not constitute an admission by Akiane that the Interrogatories, any of

the answers, or any information or documents produced in connection therewith, are admissible as

evidence in any evidentiary hearing or other proceeding. Akiane specifically reserves the right to

object on any grounds, at any time, to the admission or use of any Interrogatory or any answers or

any information or document produced in connection therewith in any such evidentiary hearing or

other proceeding.

       Any statement made herein is not, and shall not be deemed, an admission of any factual or

legal contention contained in the Interrogatory. Akiane objects to the Interrogatories to the extent

that it contains any factual or legal misrepresentations. Akiane’s response that she will produce

documents in response to the Interrogatories does not necessarily mean that responsive documents

or things exist, but instead that Akiane will produce documents or things if such documents or

things are located after a reasonable and diligent search.

       Akiane objects to the Definitions contained in the Interrogatories for the following reasons:

       1.      Akiane objects to the Interrogatories to the extent that ASW’s “Definitions” and

“Instructions” purport to impose upon Akiane duties or responsibilities greater than or different

from those imposed by the Federal Rules of Civil Procedure, the Local Rules of the United States

District Court for the Northern District of Illinois, and the orders of this Court.




                                                  3

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       2.        Akiane objects to ASW’s definition of “Document” because Fed. R. Civ. P. 34

already defines that term. Akiane will respond to this Interrogatory in light of the definition of

document provided in Rule 34.

       3.        Akiane objects to ASW’s definitions of “You” and “Your”, as they purport to

include all “related alias(es),” which is both vague, overly broad, burdensome, and impracticable.

       4.        Akiane objects to ASW’s definitions of “AA” as it purports to include all agents,

employees, representatives, attorneys, and “all other persons acting or purporting to act on behalf

of or who are subject to the direction or control or have a financial interest in Art Akiane LLC and

any related alias(es) of same,” among others. These definitions are overly broad, burdensome, and

impracticable.

       5.        Akiane objects to ASW’s definition of “Akiane Gallery” as it purports to include all

agents, employees, representatives, attorneys, and “all other persons acting or purporting to act on

behalf of or who are subject to the direction or control or have a financial interest in” Akiane Art

Gallery, among others. This definition is overly broad, burdensome, and impracticable.

       6.        Akiane objects to ASW’s definitions of “Identify,” “Describe,” “Describe in

Detail,” “State,” and “State in Detail” because they purport to impose upon Akiane duties or

responsibilities greater than those imposed by the Federal Rules of Civil Procedure

                            RESPONSES TO INTERROGATORIES

       2.        Identify all persons or entities you employ, contract, partner, or authorize as your

agent between January 6, 2008 and the present, including but not limited to the contracted advisors

referenced in the attached text message string.

       RESPONSE: Akiane objects to Interrogatory No. 2 because it is vague, overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

                                                  4

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             Art Akiane LLC v. Art & SoulWorks LLC, et al., Case No. 19-cv-02952

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because Akiane’s

asserted employees are not at issue in this action, and, therefore, discovery into this matter is not

relevant nor reasonably calculated to lead to admissible evidence. The time limitation imposed by

the Interrogatory (i.e., January 6, 2008 to the present) is especially overbroad, unduly burdensome,

and seeks irrelevant information because the text message string contains a date stamp of January

31, 2019 at 6:22 PM.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane states that, between January 6, 2008 and the present, Art Akiane

LLC, Akiane Art Gallery LLC, and members of her family, including Mark Kramarik, Jeanlu

Kramarik, and Foreli Kramarik, were authorized to act on her behalf. Further answering, Akiane

states that, upon information and belief, the text message string provided with ASW’s first

interrogatories is between Jeanlu Kramarik and Carolyne Corneliuson. The reference to

“contracted” advisors appears to be a typo, with the correct word being “contacted,” and the

“advisors” being Akiane’s family.



       4.      Identify all persons or entities which have provided You any payment, whether

monies, equity or other value, for the copyrights or licensing of Akiane’s Works or the likeness of

Akiane Kramarik since January 1, 2015.



                                                  5

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       RESPONSE: Akiane objects to Interrogatory No. 4 because it is vague, overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties ’relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. The Interrogatory is

especially overbroad, unduly burdensome, and seeks irrelevant information because payments to

Akiane are not implicated in the Second Amended Complaint or ASW’s First Amended

Counterclaim, and, therefore, discovery into this matter is not relevant nor reasonably calculated

to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane states that she has received payments from Art Akiane LLC,

Akiane Art Gallery LLC, and Harper Collins book publishing.

       Akiane is still processing and reviewing documents, and discovery is still undergoing, and

she reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



       5.      Identify and describe all instances since January 6, 2008 in which You licensed any

of Akiane’s Works or the likeness of Akiane Kramarik, including identifying the person or entity,

what work was licensed, the date and the amount of royalties received.

       RESPONSE: Akiane objects to Interrogatory No. 5 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties ’relative access to relevant information, the

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importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit.

       Subject to and without waiving her specific and General Objections, Akiane states she gave

rights in each of her works and in her likeness to Art Akiane LLC and Akiane Art Gallery LLC.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane states that the following agreements involving her works and

likeness were entered into:

       • A consent form with Healthy Wealthy n Wise on February 11, 2008.

       • A contract with ITV Productions Limited dated on or about April 1, 2008.

       • A Media Release Form with Morgan Communication Media, Inc.

       • An agreement with Lip Ink and Art Akiane LLC dated December 4, 2009.

       • A Location agreement with Courtroom Television Network LLC dated May 20, 2008.

       • A General Appearance Release with Where Are They Now, LLC dated May 17, 2016.

       • An Authorization Agreement with Summer Infant (USA), Inc. with Art Akiane LLC

           and Mark Kramarik dated November 17, 2010.

       • A One Time Usage Agreement with Wellington E. Watts II dated March 10, 2014.

       • A Second Amendment to the Publishing Agreement with Thomas Nelson dated July 1,

           2014.

       • A Speaker Release Form dated on or about June 12, 2009 with Harvest International

           Ministry.

       • An acknowledgement form with Living Greatness dated in April 2009.

       • Two Footage/Still Photo Licenses with Pilgrim Operations, Inc. dated April 28, 2010.

       • A Pacific Magazine Release with Pacific Magazines Pty Ltd. dated January 28, 2015.
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         • A Consent to Create Derivative Works and Release with Asset Marketing Services,

              LLC dated October 16, 2017.

         • A Letter of Intent with Rainbowlight Creations, LLC dated on or about February 7,

              2008.

         • A Guest Speaker Policy with St. Michael the Archangel School.

         • An Acceptance Letter of Confirmation dated March 14, 2008.

         • A Permission and Release with Thomas Nelson, Inc. dated June 8, 2010.

         • An agreement with Truth Consciousness Publications dated June 1, 2011.

         Documents reflecting royalty information paid to Akiane were produced at AA000376,

AA000378, AA000382, AA000404, AA000440, AA000475, and AA000518.

         Akiane is still processing and reviewing documents, and discovery is still undergoing, and

she reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



         6.      Identify and describe all instances since January 6, 2008 in which You gave

permission to any person or entity to produce, reproduce, duplicate, copy, modify, or print Akiane’s

Works.

         RESPONSE: Akiane objects to Interrogatory No. 6 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties ’relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad, unduly burdensome, and seeks irrelevant information because the issue whether Akiane

                                                  8

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“gave permission to any person or entity to produce, reproduce, duplicate, copy, modify, or print”

her works is not at issue this action, and, therefore, discovery into this matter is not relevant nor

reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane states that Art Akiane LLC has certain rights to produce,

reproduce, duplicate, copy, modify, or print her artwork. See documents produced at bates

numbers AA000561-AA000568. Further answering, Akiane states that TSG Products, Inc. was

authorized to print puzzles in November 2017 relating to “Jesus,” “Messenger,” and “Today.”

       Akiane is still processing and reviewing documents, and discovery is still undergoing, and

she reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



       7.      Identify and describe all instances since January 1, 2015 in which You printed or

directed another person or entity to print Akiane’s Works, including identifying the person or

entity, what art they printed, the dates and the amount they printed.

       RESPONSE: Akiane objects to Interrogatory No. 7 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties ’relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad, unduly burdensome, and seeks irrelevant information because Akiane’s printing or non-

printing is not at issue in this action, and, therefore, discovery into this matter is not relevant nor

reasonably calculated to lead to admissible evidence.

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       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane gave rights to Art Akiane LLC to print her artwork and, upon

information and belief, Art Akiane LLC made the ultimate decisions regarding printing.



       8.        Identify and describe all instances since January 1, 2015 in which You posted or

shared an image of or relating to Akiane’s Works through the Internet, including but not limited

to posting to or sharing through social media.

       RESPONSE: Akiane objects to Interrogatory No. 8 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties ’relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad, unduly burdensome, and seeks irrelevant information because Akiane’s social media

posts are not at issue in this action, and, therefore, discovery into this matter is not relevant nor

reasonably calculated to lead to admissible evidence.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and    General     Objections,    Akiane’s    social    media     posts   can    be    accessed     at

https://www.instagram.com/akianeart/?hl=en,                  https://www.facebook.com/akianeart/,

https://www.youtube.com/channel/UCq6mKVHW99y2t8syMUYHgJg,

https://twitter.com/akianeart?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Eautho

r, and https://www.pinterest.com/akianeart/. Akiane will supplement her response with printouts

of her social media accounts, under Fed. R. Civ. P. 33(d).

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       9.      Identify all email addresses, including personal ones and any alias(es), used by You

to conduct business related to the Akiane Works or the likeness of Akiane Kramarik since January

6, 2008.

       RESPONSE: Akiane objects to Interrogatory No. 9 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties’ relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad and responding would impose an undue burden because Akiane is not believed to have

corresponded with the defendants to this action via email.

       Subject to and without waiving her specific and General Objections, Akiane’s personal

email address is luvkorra@yahoo.com.au.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane states that she has also used luvkuroko@gmail.com as her email.



       11.     Identify the address of every personal residence You have used as a primary

residence since January 6, 2008.

       RESPONSE: Akiane objects to Interrogatory No. 11 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties ’relative access to relevant information, the

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importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. Akiane’s personal residences are not

at issue in this action and, therefore, discovery into this matter is not relevant nor is it reasonably

calculated to lead to the discovery of relevant evidence. Further, Akiane has lived in multiple

countries and travelled to dozens more; in fact, she has lived in and travelled to nearly 30 countries

during her lifetime. During the last five years, she has had five primary residences in the United

States alone. Listing out each of Akiane’s primary residences in the last 12 years would be unduly

burdensome.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving her specific

and General Objections, Akiane has lived at the following primary residences:

   •   Lincoln Park, Chicago, Illinois, 60657, 2020
   •   585 Sumac Road, Highland Park, Illinois, 60035
   •   24W140 Hobson Road, Naperville, Illinois, 60540
   •   8472 Kimberly Court, Burr Ridge, Illinois, 60527
   •   Residence Inn, Warrenville, Illinois, 60555
   •   Palazzo at Park La Brea, 6220 West 3rd Street, Unit 3-410, Los Angeles, California
   •   The Level, 888 Olive Street, Los Angeles, California, 90015
   •   255 Hedges Ave. Mermaid Beach, Queensland, 4218, Australia
   •   City Plaza 705, Level 7, Apt. 222, City Walk, Canberra, ACT, 2600, Australia
   •   Pilies 6, Vilnius, Lithuania
   •   25043 Lantern Hill Road, Rathdrum, Idaho, 83858
   •   1280 Palouse, Post Falls, Idaho, 83854

       In addition to the above primary residences, Akiane has resided at numerous other locations

for short periods of time, and it would be unduly burdensome and disproportionate to list each as

Akiane does not consider them to be primary residences.




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Dated: April 14, 2020
                                             Respectfully submitted,


                                             By: /s/ Adam Wolek
                                                 Adam Wolek
                                                 Marcus Harris
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 111 E. Wacker Drive, Suite 2800
                                                 Chicago, Illinois 60601
                                                 Phone: (312) 836-4063
                                                 Fax: (312) 966-8598
                                                 awolek@taftlaw.com
                                                 mharris@taftlaw.com

                                                 Matthew B. Barbara (pro hac vice)
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 200 Public Square, Suite 3500
                                                 Cleveland, Ohio 44114
                                                 Phone: (216) 241-2838
                                                 Fax: (216) 241-3707
                                                 mbarbara@taftlaw.com

                                                 Counsel for Counter-Defendant Akiane
                                                 Kramarik




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                                   CERTIFICATE OF SERVICE

           I hereby certify on that on April 14, 2020, a true and correct copy of the foregoing was

served via electronic mail upon the following:

 Nicole N. Auerbach
 Patrick J. Lamb
 Salvador Carranza
 ELEVATENEXT LAW
 218 N. Jefferson Street, Suite 300
 Chicago, IL 60661
 nicole.auerbach@elevatenextlaw.com
 patrick.lamb@elevatenextlaw.com
 salvador.carranza@elevatenextlaw.com

 Counsel for Defendants-Counter-Plaintiffs
 Art & SoulWorks LLC and Carolyne
 Corneliuson

 Michael L. Hahn
 Michael P. Baniak
 LITCHFIELD CAVO LLP
 303 W. Madison Street, Suite 300
 Chicago, IL 60606
 Hahn@LitchfieldCavo.com
 Baniak@LitchfieldCavo.com

 Counsel for Defendant/Cross-Claimant
 Carpentree LLC



                                                       /s/ Adam Wolek
                                                       Adam Wolek




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                                                  14

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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ART AKIANE LLC,

        Plaintiff,

 v.                                               Case No. 19-cv-02952

 ART & SOULWORKS LLC,                             Judge Edmond E. Chang
 CAROL CORNELIUSON,
 CARPENTREE, LLC, and VIRGINIA                    Mag. Judge Jeffrey Cole
 HOBSON,

        Defendants.

 ART & SOULWORKS LLC, and
 CAROLYNE CORNELIUSON,

        Defendants-Counter-Plaintiffs,

 v.

 ART AKIANE LLC,

        Plaintiff – Counter-Defendant,

 and

 AKIANE ART GALLERY, LLC, and
 AKIANE KRAMARIK,

        Counter-Defendants.


 ART AKIANE LLC’S FIRST SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
       ART & SOULWORKS LLC’S FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff-

Counterclaim-Defendant Art Akiane LLC (“Art Akiane”) hereby provides the following responses

and objections to Defendant Art & SoulWorks LLC’s (“ASW”) First Set of Interrogatories.


                                             1

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Pursuant to Federal Rule of Civil Procedure 26(e), Art Akiane reserves the right to modify or

supplement its responses to these Interrogatories as this matter continues.

                                     GENERAL OBJECTIONS1

          Art Akiane objects to the Interrogatories to the extent they seek information or documents

that are protected by the attorney-client privilege, the work product doctrine, the common interest

privilege or any other applicable doctrine or privilege. Inadvertent disclosure of any such

information or documents shall not be deemed a waiver of any privilege or immunity.

          Art Akiane objects to the Interrogatories as overly broad and unduly burdensome to the extent

the Interrogatories: (a) seek information or documents that do not exist; (b) seek information or

documents that are not in Art Akiane’s possession, custody or control; (c) seek information or

documents that are equally or more available to ASW; and/or (d) are not limited to a relevant time

period.

          Art Akiane objects to the Interrogatories to the extent they (or any word or term used

therein) are vague, ambiguous or subject to different interpretations or require subjective

knowledge by any party other than Art Akiane. Art Akiane will answer or produce documents to

the extent possible based on the most objectively reasonable interpretation of the Interrogatory.

          Art Akiane objects to the Interrogatories to the extent that they seek information or

documents from an overly broad time period; seek information or documents not within the

applicable scope of this case; seek information or documents not relevant to, nor reasonably

calculated to, lead to the discovery of admissible evidence relevant to the claims or defenses in

this matter; or to require identification of information that would subject Art Akiane to annoyance,

embarrassment or oppression.


1
    The above general objections are incorporated into each of the specific objections below.
                                                  2

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       Art Akiane objects to the Interrogatories as they are premature because Art Akiane has not

yet completed discovery and is still processing and reviewing documents. Accordingly, Art Akiane

reserves the right to supplement its responses to these Interrogatories, including by producing

business records under Fed. R. Civ. P. 33(d).

       These answers shall not constitute an admission by Art Akiane that the Interrogatories, any

of the answers, or any information or documents produced in connection therewith, are admissible

as evidence in any evidentiary hearing or other proceeding. Art Akiane specifically reserves the

right to object on any grounds, at any time, to the admission or use of any Interrogatory or any

answers or any information or document produced in connection therewith in any such evidentiary

hearing or other proceeding.

       Any statement made herein is not, and shall not be deemed, an admission of any factual or

legal contention contained in the Interrogatory. Art Akiane objects to the Interrogatories to the extent

that it contains any factual or legal misrepresentations. Art Akiane’s response that it will produce

documents in response to the Interrogatories does not necessarily mean that responsive documents

or things exist, but instead that Art Akiane will produce documents or things if such documents or

things are located after a reasonable and diligent search.

       Art Akiane objects to the Definitions contained in the Interrogatories for the following

reasons:

       1.      Art Akiane objects to the Interrogatories to the extent that ASW’s “Definitions” and

“Instructions” purport to impose upon Art Akiane duties or responsibilities greater than or different

from those imposed by the Federal Rules of Civil Procedure, the Local Rules of the United States

District Court for the Northern District of Illinois, and the orders of this Court.



                                                   3

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       2.        Art Akiane objects to ASW’s definition of “Document” because Fed. R. Civ. P. 34

already defines that term. Art Akiane will respond to this Interrogatory in light of the definition of

document provided in Rule 34.

       3.        Art Akiane objects to ASW’s definitions of “AA”, “You”, and “Your”, as they

purport to include all agents, employees, representatives, attorneys, and “all other persons acting

or purporting to act on behalf of or who are subject to the direction or control or have a financial

interest in” Art Akiane, among others. These definitions are overly broad, burdensome, and

impracticable.

       4.        Art Akiane objects to ASW’s definitions of “Akiane Gallery” as it purports to

include all agents, employees, representatives, attorneys, and “all other persons acting or

purporting to act on behalf of or who are subject to the direction or control or have a financial

interest in Akiane Art Gallery, LLC and any related alias(es) of same,” among others. These

definitions are overly broad, burdensome, and impracticable.

       5.        Art Akiane objects to ASW’s definitions of “Identify,” “Describe,” “Describe in

Detail,” “State,” and “State in Detail” because they purport to impose upon Art Akiane duties or

responsibilities greater than those imposed by the Federal Rules of Civil Procedure

                            RESPONSES TO INTERROGATORIES

       7.        Identify and describe all instances since January 6, 2008 in which You licensed any

of Akiane’s Works or the likeness of Akiane Kramarik, including identifying the person or entity,

what work was licensed, the dates and the amount of royalties or consideration received.

       RESPONSE: Art Akiane objects to Interrogatory No. 7 because it is vague, overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

                                                  4

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at stake in this action, the amount in controversy, the parties’ relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. Additionally, many

of the contracts and other agreements relating to Akiane Kramarik’s works and likeness are not at

issue in this action and it would be unduly burdensome to locate, identify, and catalog each of

these contracts, what work was licensed, and the dates and the amount of royalties or consideration

received.

       Subject to and without waiving its General Objections, Art Akiane entered into the

following contracts and agreements:

       •    A licensing agreement with ASW on or about January 11, 2007. (See Ex. H to Art

            Akiane’s First Amended Complaint.)

       •    An Assignment dated April 19, 2019 with Akiane Kramarik and Akiane Gallery. (See

            AA000561.)

       •    A Right of Publicity Assignment Agreement dated April 30, 2019 with Akiane

            Kramarik. (See AA000566.)

       •    A Trademark Assignment Agreement dated April 19, 2019 with Akiane Kramarik and

            Akiane Gallery. (See AA000567.)

       •    A License Agreement dated July 21, 2016. (See AA000550.)

       •    A Second Amendment to the Publishing Agreement dated July 1, 2014. (See

            AA000559.)

       •    A Licensing Dissolvement Agreement dated January 10, 2019.

       •    A License Termination and Wind-Down Agreement dated March 1, 2019.

       •    An Art Images & Licensing Agreement dated January 11, 2007.
                                                  5

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       •   A License Agreement for Artwork dated October 22, 2007.

       Further answering, Art Akiane states: See royalty information produced at Bates Nos.

AA000227 – AA000268.

       Art Akiane is willing to meet and confer regarding a reasonable limitation upon the

remainder of the scope of this Interrogatory and will re-evaluate its objections in the event ASW

refines the scope.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Art Akiane will produce the

documents identified in the last four bullet points above. Further answering, Art Akiane states that

the Licensing Dissolvement Agreement dated January 10, 2019 was entered into with Akiane

Gallery. The License Termination and Wind-Down Agreement dated March 1, 2019 was entered

into with Akiane Gallery and ASW. ASW was identified as a party to this agreement; however,

ASW’s representative did not sign this document. The License Agreement for Artwork dated

October 22, 2007 was entered into with Akiane Gallery.

       Further answering, and without waiving its objections that ASW’s request for “all

instances” is overly broad and seeks irrelevant information, Art Akiane entered into the following

agreements:

       •   An Anturo Agreement with BookMasters, Inc. dated September 17, 2011;

       •   An agreement with Les Editions CEC Inc. dated February 8, 2008.

       •   An Authorization to Use Appearance with Creative Differences Productions, Inc. and

           Discovery Communications, Inc. dated January 13, 2007.

       •   An agreement relating to the Double Rainbow book dated October 25, 2017.



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       •   A Publishing and Distribution Agreement with eChristian, Inc. dated on or about

           November 11, 2011.

       •   An Image Usage Agreement with Hillsong Church Ltd. dated July 7, 2016.

       •   An Image Usage Agreement with Hillsong Church Ltd. dated September 7, 2018.

       •   A Work Agreement with Kraupp Inc. dated on or about February 15, 2016.

       •   An agreement with Lip Ink and Akiane Kramarik dated December 4, 2009.

       •   An agreement with Originals, Inc. dba Print mfg dated November 17, 2014

       •   An agreement with “The Richest Kids in America.”

       •   A Public Relations Service Agreement with Ruby Public Relations Pty Ltd. dated on

           or about December 19, 2014.

       •   A Business Separate Agreement with Akiane Art Gallery and Spirit at Works dated

           October 27, 2007.

       •   An Authorization Agreement with Summer Infant (USA), Inc. with Akiane Kramarik

           and Mark Kramarik dated November 17, 2010.

       •   A Memorandum of Agreement with Here II Here music group.

       •   An Image Usage Agreement with Mark Andrew Sweeney dated March 16, 2017.

       •   A Screening License with Zero Plus International Film Festival.

       •   An agreement with Voyager dated on or about June 9, 2010.

       Art Akiane is still processing and reviewing documents, and discovery is still undergoing,

and it reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).




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       8.      Identify and describe all instances since January 6, 2008 in which You gave

permission to any person or entity to produce, reproduce, duplicate, copy, modify, or print

Akiane’s Works.

       RESPONSE: Art Akiane objects to Interrogatory No. 8 because it is vague, overly broad,

unduly burdensome, and seeks information that is not relevant to the claims or defenses of the

parties and/or is not proportional to the needs of the case, considering the importance of the issues

at stake in this action, the amount in controversy, the parties’ relative access to relevant

information, the importance of this Interrogatory in resolving the issues in this case, and the burden

and expense of the requested information, which outweigh its likely benefit. Additionally, many

of the contracts and other agreements relating to Akiane Kramarik’s works and likeness are not at

issue in this action and it would be unduly burdensome to locate, identify, and catalog each of

these contracts and determine whether any constitute permission for “any person or entity to

produce, reproduce, duplicate, copy, modify, or print Akiane’s Works.”

       Subject to and without waiving its General Objections, Art Akiane entered into a licensing

agreement with ASW on or about January 11, 2007 pursuant to which ASW was given limited

rights to print Akiane’s works. (See Ex. H to Art Akiane’s First Amended Complaint.) Additional

contracts and agreements relating to the use of Akiane’s works and likeness are identified in

response to Interrogatory No. 7. Further, Art Akiane uses a fine art printing vendor, Marco Fine

Arts, to make giclee prints of its works.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Art Akiane states that it has

worked with Marco Fine Arts from 2015 to the present. Art Akiane previously worked with Print

MFG from 2011 through 2015, and Digital Color Print Center from 2004 through 2011, to fulfill

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print orders. Art Akiane has also worked with Osio-Brown Gallery to create digital captures of Art

Akiane’s works and to fulfill rush orders on an infrequent and inconsistent basis. Further

answering, TSG Products, Inc. printed puzzles in November 2017 relating to “Jesus,”

“Messenger,” and “Today.”

       Art Akiane is still processing and reviewing documents, and discovery is still undergoing,

and it reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



       9.      Identify and describe all instances since January 1, 2015 in which You posted or

shared an image relating to Akiane’s Works through the Internet, including but not limited to

posting to or sharing through social media.

       RESPONSE: Art Akiane objects to Interrogatory No. 9 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties’ relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad, unduly burdensome, and seeks irrelevant information because it requests “all instances”

in which Art Akiane “posted or shared an image of or relating to Akiane’s Works on or through

the Internet,” rather than those instances applicable to the named defendants, causes of action

asserted, and defenses pleaded in this action.

       Subject to and without waiving its specific and General Objections, Art Akiane states that,

between January 1, 2015 and the present, it did not post to Akiane’s social media accounts.



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       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Art Akiane states that it posted

images of Akiane’s works on Akiane.com. Those images are publicly available and can be viewed

by ASW. ASW’s request for “all instances” in which Art Akiane “shared” an images of Art

Akiane’s through the Internet remains overly broad and compliance would impose an undue

burden because it is disproportionate to the needs of the case to locate each instance in which an

image was sent or otherwise shared, such as images and thumbnails exchanged in orders, in fan

communications, and in other correspondence.

       Art Akiane is still processing and reviewing documents, and discovery is still undergoing,

and it reserves the right to further supplement, including pursuant to F.R.C.P. 33(d).



       12.     Identify all third party e-commerce websites or companies You have used to sell

Akiane’s Works since January 1, 2015.

       RESPONSE: Art Akiane objects to Interrogatory No. 12 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties’ relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. The Interrogatory is especially

overbroad, unduly burdensome, and seeks irrelevant information because it requests Art Akiane

identify “all third party e-commerce websites or companies You have used to sell Akiane’s

Works,” an inquiry that is not tailored to the named defendants, causes of action asserted, and

defenses pleaded in this action.

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        Subject to and without waiving its General Objections, Art Akiane states: Amazon.com,

Ebay.com, and Etsy.com. Products are also available for purchase at Akiane.com/store/.

        FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Art Akiane has used

WooCommerce as an e-commerce platform. Art Akiane previously used Magento Marketplace as

an e-commerce platform but no longer does.



        13.     Identify all email addresses, including personal ones and any alias(es), used by You

to conduct AA business since January 6, 2008.

        RESPONSE: Art Akiane objects to Interrogatory No. 13 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties’ relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit.

        Subject to and without waiving its specific and General Objections, Art Akiane states that

its   representatives   have used      the following      email   addresses:    jeanluwi@gmail.com,

markskramarik7@yahoo.com, prints@artakiane.com, and love@artakiane.com.

        FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, and after further investigation, Art

Akiane has identified the following additional accounts that were used to conduct business:

prints@akiane.com, artakianellc@gmail.com, akianecom@gmail.com, luvkuroko@gmail.com,

Rlakiane@gmail.com,                 akianeops@gmail.com,                 markskramarik@gmail.com,

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markskramarik7@yahoo.com.au, foreli1969@yahoo.com, and Akianesart9@yahoo.com. Art

Akiane     has   identified   following   inactive/archived    email    accounts:    ak@akiane.com,

books@akiane.com, fans@akiane.com, fb@akiane.com, info@akiane.com, info@artakiane.com,

love@akiane.com,           mark@akiane.com,            media@akiane.com,          news@akiane.com,

ops@akiane.com,         orders@akiane.com,        originals@akiane.com,         raphael@akiane.com,

test@akiane.com, and track@akiane.com.



         16.     Identify the actual sale price of any original work, including but not limited to,

Prince of Peace, from January 1, 2006 to present and provide the title of the work; date sold; price

sold for; identity of the buyer and buyer’s most recent address.

         RESPONSE: Art Akiane objects to Interrogatory No. 16 because it is overly broad, unduly

burdensome, and seeks information that is not relevant to the claims or defenses of the parties

and/or is not proportional to the needs of the case, considering the importance of the issues at stake

in this action, the amount in controversy, the parties’ relative access to relevant information, the

importance of this Interrogatory in resolving the issues in this case, and the burden and expense of

the requested information, which outweigh its likely benefit. Art Akiane’s sales of Akiane’s works

are not at issue in this action; rather, this action relates to ASW’s unauthorized sales and alteration

of Akiane’s works. Additionally, compliance with this Interrogatory would prove unduly

burdensome because Art Akiane is currently relocating its office to Chicago, because customer

information has been deleted or compromised during IT migrations, and because sources of

documents include various hard copy and electronic storage directories housed in storage units,

garages, and in unlabeled boxes and crates. Art Akiane has only two remaining employees—Mark



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and Foreli Kramarik—and it would be unreasonable and unduly burdensome to re-task both to

identify each customer within the last 5 years.

       Subject to and without waiving its specific and General Objections, Art Akiane states that

it has sold the two original works to the recipients identified in response to Interrogatory No. 15.

       Art Akiane is willing to meet and confer regarding a reasonable limitation upon the scope

of this Interrogatory and will re-evaluate its objections in the event ASW narrows the scope.

       FIRST SUPPLEMENTAL RESPONSE: Subject to and without waiving its specific and

General Objections, including as set forth in its initial response, Art Akiane states that it sold the

following original works for the below list and sales prices:

                                                           List and Sales
                            Name                            Price (USD)          Date Sold
       Decision                                          $21,000                2011
       Summer Snow                                       $15,000                2017
       Silence                                           $15,000                2019
       Clematis Dream                                    $14,000                2003
       Castle Street                                     $15,000                2020
       The Focus                                         $6,000                 2016
       Jesus, The Missing Years                          $50,000                2019
       Life Without A Leash                              $35,000                2016
       Dreams                                            $85,000                2019
       Hope                                              $95,000                2018
       Inseparable                                       $145,000               2018
       On My Knees                                       $55,000                2019
       Untitled                                          $10,000                2018
       Morning                                           unknown                2005-2008
       Sixteen Lives In The Wind                         $180,0002              2016
       The Horse                                         unknown                2002-2005
       Power Of Prayer                                   $32,500                2019
       WWW                                               $35,000                2019
                                                         Bundle - $180,000
       Spirited                                          Listed - $5,000        2016
       The Angel                                         108,000                2006

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  Sixteen Lives in the Wind was sold for $180,000. The artwork identified with “Bundle” was
gifted to the buyer of Sixteen Lives in the Wind as a condition for that purchase.
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     The Light Bearers                            $75,000              2005
     Faith                                        $39,000              2010
     Missing Puzzle                               unknown              2011
     Love At First Sight                          $108,000             2006-2008
     The Gift                                     $65,000              2018
     Dance Of The Mind                            unknown              2004
     Melancholy                                   $4,500               2016
     Father Forgive Them                          $535,000             2020
     Patience                                     $32,000              2019
                                                  Bundle - $180,000
     The Balance                                  Listed - $25,000     2016
     The Listening                                $7,500               2005
     Breaking Free                                20,000               2011
     Empathy                                      unknown              2005
     I AM                                         $140,000             2018
                                                  Bundle - $180,000
     My Sight Cannot Wait                         Listed - $75,000     2016
     Perception of Illusion                       $18,500              2020
     Water Angel                                  $20,000              2010
     Dream Fence                                  unknown              2004-2008
     Upside Down - Inside Out                     $45,000              2019
     Co-Creation                                  $30,000              2017
     Penguin                                      $10,000              2019
     The Challenge                                $175,000             2007
     Symphony                                     $67,000              2019
     Immortal                                     $65,000              2018
     Labyrinth                                    $4,850               2010
                                                  Bundle - $180,000
     Search For Truth                             Listed - $35,000     2016
     The Swing                                    $4,000               2010
     Turquoise Eyes                               $25,000              2019
     The Path                                     $25,000              2019
                                                  Bundle - $180,000
     Faithfulness                                 Listed - $45,000     2016
                                                  Listed - $250,000
     Endangerment                                 Gift                 2013
     Courage                                      $15,000              2019
     Butterfly Passion                            $35,000              unknown
     Welcoming                                    $11,000              2020
     The Relic                                    $32,000              2019
     Each                                         $10,000              2010
                                                  Bundle - $180,000
     Instinct                                     Listed - $45,000     2016
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     Garden Arch                                 $26,000              2012
     Barefoot                                    $15,500              2018
     Love Is Never Alone                         $159,000             2008
     Time                                        $10,000              2019
     Dancing Against Time                        $10,000              2017
     Eagle                                       unknown              2003-2008
     Freedom Horse                               unknown              2003-2008
     Jazz In The City                            $15,000              2019
     Carefree                                    $10,000              2016
                                                 Bundle - $180,000
     Dancing Dream                               Listed - $10,000     2016
                                                 Bundle - $180,000
     Supreme Sanctuary                           Listed - $35,000     2016
     Guidance                                    $5,500               2016
     Turquoise Falls                             $8,500               2018
     Adventure                                   $21,000              2020
     Again I Find The Winter                     unknown              2002-2005
     Unforgettable                               $7,600               2018
     Together                                    $30,000              2018
     The Vision                                  $25,000              2018
     The Garden                                  $25,000              2018
     This Is My Life                             $30,000              2019
     Odyssey                                     $20,000              2018
     Guardians of Grace                          $20,000              2018
     Divine Compass                              $20,000              2018
     The Light                                   $85,000              2018
     Bald                                        $8,700               2005
     On The Right Track                          $16,500              2019
     Divine Knowledge                            unknown              2008
     Prince of Peace                             $850,000             2019




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Dated: April 14, 2020
                                             Respectfully submitted,


                                             By: /s/ Adam Wolek
                                                 Adam Wolek
                                                 Marcus Harris
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 111 E. Wacker Drive, Suite 2800
                                                 Chicago, Illinois 60601
                                                 Phone: (312) 836-4063
                                                 Fax: (312) 966-8598
                                                 awolek@taftlaw.com
                                                 mharris@taftlaw.com

                                                 Matthew B. Barbara (pro hac vice)
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 200 Public Square, Suite 3500
                                                 Cleveland, Ohio 44114
                                                 Phone: (216) 241-2838
                                                 Fax: (216) 241-3707
                                                 mbarbara@taftlaw.com

                                                 Counsel for Plaintiff and Counter-
                                                 Defendant Art Akiane LLC




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                                   CERTIFICATE OF SERVICE

           I hereby certify on that on April 14, 2020, a true and correct copy of the foregoing was

served via electronic mail upon the following:

 Nicole N. Auerbach
 Patrick J. Lamb
 Salvador Carranza
 ELEVATENEXT LAW
 218 N. Jefferson Street, Suite 300
 Chicago, IL 60661
 nicole.auerbach@elevatenextlaw.com
 patrick.lamb@elevatenextlaw.com
 salvador.carranza@elevatenextlaw.com

 Counsel for Defendants-Counter-Plaintiffs
 Art & SoulWorks LLC and Carolyne
 Corneliuson

 Michael L. Hahn
 Michael P. Baniak
 LITCHFIELD CAVO LLP
 303 W. Madison Street, Suite 300
 Chicago, IL 60606
 Hahn@LitchfieldCavo.com
 Baniak@LitchfieldCavo.com

 Counsel for Defendant/Cross-Claimant
 Carpentree LLC



                                                       /s/ Adam Wolek
                                                       Adam Wolek


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